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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT


  RALPH BIRCH,                                            No. 3:20-CV-1790 (VAB)
                                                          [rel. No. 3:20-CV-1792]
                          Plaintiff,
  -against-

  TOWN OF NEW MILFORD et al.,
                                                          October 11, 2024
                          Defendants.


     PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF
       MOTION IN LIMINE TO EXCLUDE EVIDENCE OF THE SETTLEMENT
                  WITH THE STATE DEFENDANTS AND ISSUE
              AN APPROPRIATE LIMITING JURY INSTRUCTION
       Despite their agreement that the jury should not learn of Plaintiffs’ prior settlement with

the State Defendants, and their lack of objection to Plaintiffs’ proposed curative instruction,

Defendants object to Plaintiffs’ motion in limine (ECF No. 220) on the basis that they “must be

able to question Plaintiffs about their claims against the other settled-out state defendants.” ECF

No. 242 (“Opp.”) at 1. Revealingly, Defendants cite no authority whatsoever for their novel

assertion that such questioning would be relevant to “whether the disclosure of the $1,000, along

with the testimony of [Todd] Cocchia, would have had a reasonable likelihood of impacting the

criminal proceedings” (i.e., materiality). Id. Any such testimony would be speculative and

irrelevant, while also prejudicially circumventing the nondisclosure of the settlement itself.

       First, there is zero competent proof found on Defendants’ witness and exhibit lists

concerning much of the other alleged misconduct about which Defendants apparently wish to

question Plaintiffs. For example, Plaintiffs have no personal knowledge of whether Henry Lee

tested the towel at the crime scene for blood, as they were not present when Lee processed the

bathroom, and the parties’ Joint Trial Memorandum (JTM) includes no exhibit or witness



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bearing on that question. Similarly, Plaintiffs have no personal knowledge of what Tina

Yablonski said during her pre-polygraph interview, as they were not present for it, and the JTM

similarly discloses no competent proof of that issue, let alone whether such statements were

suppressed. Of course, the absence of proof on these issues is for good reason: they are no longer

part of the case. In the absence of actual proof of such wrongdoing by others, it appears that

Defendants simply want to ask Plaintiffs if they believe that other such acts of misconduct may

have contributed to their wrongful convictions. Indeed, by asserting that they want to “evaluat[e]

. . . other alleged acts, and argue the potential impact of those acts,” Opp. at 2, Defendants

effectively admit that they want to speculate about other possible causes of Plaintiffs’ injuries in

the absence of evidence. But Plaintiffs’ subjective views of others’ culpability are irrelevant to

whether other misconduct occurred or whether it actually caused Plaintiffs’ injuries. This is a

trial. There can be no “evaluat[ing] alleged acts” or “arguing the potential impact” of “alleged

acts” without evidence that the alleged acts happened, which Defendants do not intend to offer.

       Second, even to the extent competent proof of misconduct by other absent defendants

were available, it still has limited or no relevance to the specific purpose for which Defendants

proffer it: the materiality of the $1,000 cash or of Cocchia’s statements. With respect to the

$1,000, the materiality of suppressed evidence under Brady depends upon its weight and value,

assessed in the context of the actual trial record. See, e.g., United States v. Avellino, 136 F.3d

249, 256 (2d Cir. 1998). The existence of other additional exculpatory information not at issue

that may also happen to have been suppressed is not part of this inquiry. With respect to Cocchia,

the materiality of fabricated evidence is assessed objectively, based on whether it is the kind of

evidence that would be likely to influence a jury in the general sense. Nnodimele v. Dirienzo, No.




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13-CV-3461, 2016 WL 3561708, at *9 (E.D.N.Y. June 27, 2016). Whether someone else may

have also fabricated other unrelated evidence is, again, not relevant.

       Third, permitting Defendants to question Plaintiffs in the manner they propose would

simply reinforce the Rule 403 concerns about prejudice and confusion that Plaintiffs’ motion

sought to remedy in the first place. The more Defendants are permitted to ask Plaintiffs about

Plaintiffs’ prior allegations of wrongdoing against the State Defendants, the more the jury will

naturally wonder why the State Defendants are not parties and why those claims are not being

tried. A significant risk exists that the jury will fill the information vacuum with speculation of

its own, which threatens to prejudice Plaintiffs if the jury wrongly surmises that Plaintiffs’ claims

against the State Defendants were found to be unmeritorious or that Plaintiffs’ claims against the

State Defendants already resulted in full compensation for Plaintiffs’ injuries.



                                                      Respectfully submitted,
                                                      THE PLAINTIFFS

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